Case 2:23-cv-02831-SVW-E Document 37 Filed 07/27/23 Page 1 of 3 Page ID #:158


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  6
      Attorneys for the Tolkien Estate Limited, the Tolkien Trust and Simon Tolkien.
  7

  8   IN THE UNITED STATES DISTRICT COURT
  9   THE CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 10

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 12   DEMETRIOUS                                         Case No. 2:23-cv-02831-SVW-E
 13   POLYCHRON
                  Plaintiff,
 14
             v.                                          DECLARATION OF LACY H.
 15   JEFF BEZOS, an Individual, JENNIFER                KOONCE, III IN SUPPORT OF
      SALKE, An Individual, SIMON                        DEFENDANTS’ MOTION TO
 16   TOLKIEN, an Individual, PATRICK                    DISMISS PLAINTIFF’S FIRST
      MCKAY, an Individual, JOHN D.                      AMENDED COMPLAINT
 17   PAYNE, an Individual, AMAZON
      STUDIOS LLC, a California Limited
 18   Liability Company, AMAZON
      CONTENT SERVICES, LLC, a Delaware
 19   Limited Liability Company, THE
      TOLKIEN ESTATE LIMITED, THE
 20   TOLKIEN TRUST, and DOES 1-100,
 21              Defendants.

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      DECLARATION OF LACY H. KOONCE, III IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S FIRST
      AMENDED COMPLAINT
      Case No. 2:23-cv-02831-SVW-E
Case 2:23-cv-02831-SVW-E Document 37 Filed 07/27/23 Page 2 of 3 Page ID #:159



  1                      DECLARATION OF LACY H. KOONCE, III

  2   I, Lacy H. Koonce, III, declare as follows:
  3          1.      I am an attorney at Klaris Law and have been admitted pro hac vice to
  4   practice before this Court. I am counsel for Defendants the Tolkien Estate Limited,
  5   the Tolkien Trust and Simon Tolkien (collectively, the “Tolkien Defendants”) in the
  6   above-referenced matter.        I submit this declaration in support of the Tolkien
  7   Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint (“FAC”), filed
  8   concurrently with this declaration.
  9          2.      Lodged as a physical copy in accordance with L.R. 11-5.1 and
 10   referenced herein as Exhibit A is a true and correct copy of a single volume of J.R.R.
 11   Tolkien’s book The Lord of the Rings, referenced in the FAC at ¶¶ 25-27, 29-30.
 12          3.      Attached hereto as Exhibit B is a true and correct copy of the
 13   November 21, 2017 letter from Plaintiff to Defendant Simon Tolkien in which
 14   Plaintiff admits to having written a sequel to The Lord of the Rings, referenced in
 15   the FAC at ¶ 26.
 16          4.      Attached hereto as Exhibit C is a true and correct copy of the
 17   November 7, 2019 letter from Plaintiff’s counsel, and accompanying statement from
 18   Demetrious Polychron, to Defendant Simon Tolkien regarding a potential
 19   collaboration with the Tolkien Estate on the publication of such sequel, referenced
 20   in the FAC at ¶ 27.
 21          5.      Attached hereto as Exhibit D is a true and correct copy of the response
 22   from counsel for the Tolkien Estate that it did not wish to grant the right to publish
 23   a sequel to The Lord of the Rings, referenced in the FAC at ¶ 27.
 24          6.      Attached hereto as Exhibit E is a true and correct copy of the December
 25   24, 2019 letter that Plaintiff hand-delivered to Defendant Simon Tolkien alongside
 26   a physical copy of his infringing manuscript, referenced in the FAC at ¶ 28.
 27          7.      Attached hereto as Exhibit F is a true and correct copy of the
 28   September 22, 2022 version of Plaintiff’s sequel, The Fellowship of the King,

      DECLARATION OF LACY H. KOONCE, III IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
      FIRST AMENDED COMPLAINT
      Case No. 2:23-cv-02831-SVW-E
Case 2:23-cv-02831-SVW-E Document 37 Filed 07/27/23 Page 3 of 3 Page ID #:160



 1   referenced in the FAC at ¶ 23.
 2         8.     Attached hereto as Exhibit G is a true and correct copy of the
 3   November 21, 2017 deposit copy of Plaintiff’s sequel, The Fellowship of the King
 4   submitted to the U.S. Copyright Office for registration, referenced in the FAC at ¶
 5   26.
 6         9.     Attached hereto as Exhibit H is a true and correct copy of the cover
 7   artwork and text for the hardcover version of Plaintiff’s sequel, The Fellowship of
 8   the King published on September 22, 2022, referenced in the FAC at Exhibit B.
 9         I declare under penalty of perjury under the laws of the United States that
10   the foregoing is true and correct.
11         Executed this 27th day of July, 2023 in Pelham, New York.
12                                                       /s/ Lacy H. Koonce, IIII
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13                                                      Lacy H. Koonce, III
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                                                                        MOTION TO DISMISS
                                                                      Case No. 2:23-cv-02831-SVW-E
